      Case 2:22-cv-01381-SRB Document 68 Filed 09/26/22 Page 1 of 5




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11                          UNITED STATES DISTRICT COURT
12                                    DISTRICT OF ARIZONA
13
     Mi Familia Vota et al.,
14                       Plaintiff,             Case No: 2:22-cv-00509-SRB
15   vs.
                                                 STATE’S MOTION TO
16   Katie Hobbs, in her official capacity as    CONSOLIDATE
17   Arizona Secretary of State, et al.,

18
                    Defendants.
19   _________________________________
20
     Living United for Change in Arizona, et
21   al.,
22                       Plaintiffs,
     vs.
23
24   Katie Hobbs,
25                  Defendant.
     _________________________________
26
27
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      Case 2:22-cv-01381-SRB Document 68 Filed 09/26/22 Page 2 of 5




 1   Poder Latinx,
                         Plaintiff,
 2
     vs.
 3
 4   Katie Hobbs,
                    Defendant.
 5
     _________________________________
 6
 7   United States of America,
                        Plaintiff,
 8   vs.
 9
     State of Arizona, et al.,
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                         Defendants.
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 1                               MOTION TO CONSOLIDATE
 2         Defendants Mark Brnovich and the State of Arizona (collectively the “State”)
 3   hereby move pursuant to Fed. R. Civ. P. 42(a) and LRCiv 42.1(b) to consolidate Promise
 4   Arizona v. Hobbs, 2:22-cv-01602-PHX-SRB with consolidated matter Mi Familia Vota v.
 5   Hobbs, 2:22-cv-00509-PHX-SRB (the “Consolidated Matter”), which has already been
 6   consolidated with four other suits: Living United for Change in Arizona v. Hobbs, 2:22-cv-
 7   00519-PHX-SRB; Poder Latinx v. Hobbs, 2:22-cv-01003-PHX-SRB; United States v.
 8   Arizona, 2:22-cv-01124-PHX-SRB; and DNC v. Hobbs, 2:22-cv-01369-PHX-SRB.
 9   Promise Arizona opposes this motion.
10         The Consolidated Matter involves challenges to recently enacted Arizona election
11   laws, HB 2243 and HB 2492, under the Fourteenth and Fifteenth Amendments, and the
12   National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20510, inter alia.
13   Although this case only involves a challenge to HB 2243, it too includes equivalent
14   challenges to that statute under the Fourteenth and Fifteenth Amendments, as well as the
15   NVRA.
16         The Consolidated Matter and Promise Arizona therefore plainly involve “common
17   question[s] of law [and] fact.” See Fed. R. Civ. P. 42(a). Consolidation will promote
18   efficiency and conserve the resources of this Court and the parties, as well as protecting
19   the parties from the potential prejudice that could result from separate resolutions. (The
20   State has separately moved to consolidate Arizona Asian American Native Hawaiian And
21   Pacific Islander For Equity Coalition v. Hobbs, 2:22-cv-01381-PHX-SRB (“AAANHPI”),
22   which also includes a challenge to HB 2243 as well as HB 2492. That motion is currently
23   pending.)
24         Indeed, given that this Court has already consolidated all five other actions asserting
25   NVRA challenges to HB 2492, including two that also challenge HB 2243 under the
26   NVRA, it would be deeply anomalous to leave Promise Arizona unconsolidated. Such an
27   approach would pointlessly combine the drawbacks of both consolidation and non-
28   consolidation while foregoing many of the corresponding benefits. Put simply, it would be


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         Case 2:22-cv-01381-SRB Document 68 Filed 09/26/22 Page 4 of 5




 1   the worst of all worlds. Moreover, the appropriateness of consolidation is recognized by
 2   the fact that nearly all Plaintiffs (save AAANHPI and Promise Arizona) have affirmatively
 3   sought consolidation here and no Defendant has opposed it.1
 4                                        CONCLUSION
 5           For the foregoing reasons, the State’s motion to consolidate should be granted.
 6
 7           RESPECTFULLY SUBMITTED this 26th day of September, 2022.
 8                                             MARK BRNOVICH
                                               ATTORNEY GENERAL
 9                                             By: s/ Drew C. Ensign
10                                             Joseph A. Kanefield (No. 15838)
                                                Chief Deputy & Chief of Staff
11                                             Brunn (“Beau”) W. Roysden III (No. 28698)
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17                                             Mark Brnovich, Arizona Attorney General
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28     An equivalent motion is being filed in both the consolidated action and the Promise
     Arizona action.

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       Case 2:22-cv-01381-SRB Document 68 Filed 09/26/22 Page 5 of 5




 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on this 26th day of September, 2022, I caused the foregoing
 3   document to be electronically transmitted to the Clerk’s Office using the CM/ECF System
 4   for Filing, which will send notice of such filing to all registered CM/ECF users.

 5                                             s/ Drew C. Ensign
                                               Attorneys for Defendants State of Arizona and
 6                                             Mark Brnovich, Arizona Attorney General
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